   Case 2:07-md-01873-KDE-MBN Document 7693-4 Filed 11/21/09 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

IN RE:         FEMA TRAILER                     *     MDL NO. 1873
               FORMALDEHYDE                     *
               PRODUCTS LIABILITY               *
               LITIGATION                       *     SECTION: N(5)
                                                *
This Document Relates to:                       *
Dubuclet v. Fleetwood Enterprises, Inc., et al. *
                                                *     JUDGE: ENGELHARDT
Case No. 07-9228                                *
                                                *
                                                *     MAG: CHASEZ
******************************************************************************

                                   NOTICE OF HEARING

         IT IS HEREBY ORDERED that Defendant Fleetwood Enterprises, Inc's Motion to

Strike Lay Witness is hereby set for the hearing on the 16th day of December 2009 at 9:30 a.m.

         This 21st day of November 2009.

                                     Respectfully submitted:

                                      /s/ Richard K. Hines, V
                                     Richard K. Hines, V
                                     GA Bar No. 356300
                                     NELSON MULLINS RILEY & SCARBOROUGH, LLP
                                     Atlantic Station
                                     201 17th Street, NW, Suite 1700
                                     Atlanta, GA 30363
                                     (404) 322-6000 (phone)
                                     (404) 322-6050 (fax)

                                     Jerry L. Saporito
                                     LA Bar No. 11717
                                     LEAKE & ANDERSSON, L.L.P.
                                     1700 Energy Centre
                                     1100 Poydras St.
                                     New Orleans, LA 70163-1701
Case 2:07-md-01873-KDE-MBN Document 7693-4 Filed 11/21/09 Page 2 of 3




                         (504) 585-7500 (phone)
                         (504) 585- 7775 (fax)

                         Counsel for Fleetwood Enterprises, Inc.




                                   2
      Case 2:07-md-01873-KDE-MBN Document 7693-4 Filed 11/21/09 Page 3 of 3




                              C E R T I F I C A T E OF SERVICE

        I hereby certify that a copy of the foregoing has this date been serves on all counsel of
record in this proceeding by:

( )      Hand Delivery                        ( )       Prepaid U.S. Mail

( )      Facsimile                            ( )       Federal Express

(X)      CM/ECF

         New Orleans, Louisiana, this 21st day of November 2009.

                                       /s/ Richard K. Hines, V
                                      Richard K. Hines, V
                                      Georgia Bar No. 356300
                                      richard.hines@nelsonmullins.com

NELSON MULLINS RILEY & SCARBOROUGH LLP
Atlantic Station
201 17th Street, NW
Suite 1700
Atlanta, GA 30363
(404) 322-6000 (phone)
(404) 322-6050 (fax)




                                                    3
